                   IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

    RICHARD L. WINANS, on behalf        )
    of himself and all others           )
    similarly situated, 1               )
                                        )
                    Plaintiff,          )          17cv659
                                        )
               v.                       )
                                        )
    FRANKLIN COLLECTION SERVICE,        )
    INC. And DAN FRANKLIN,              )
                                        )
                    Defendant.          )

                        MEMORANDUM OPINION AND ORDER

THOMAS D. SCHROEDER, Chief District Judge.

        This is a civil action arising from the debt collection

activities of the Defendants, Franklin Collection Service, Inc.

(“FCSI”) and Dan Franklin.          Plaintiff Richard L. Winans brings

this action on behalf of himself and others similarly situated,

alleging that the Defendants’ debt collection activities violated

the Fair Debt Collection Practices Act (“FDCPA”), 15 U.S.C. § 1692

et seq., the North Carolina Collection Agencies Act (“NCCAA”),

N.C. Gen. Stat. § 58-70-1 et seq., and the North Carolina Debt

Collection Act (“NCDCA”), N.C. Gen. Stat. § 75-50 et seq.                (Doc.

1.)     Defendants now move for judgment on the pleadings pursuant to

Federal Rule of Civil Procedure 12(c).         (Doc. 13.)    For the reasons

set    forth   below,   the   motion   will   be   granted   and   the   action




1
    The complaint refers to “herself,” which appears to be a misnomer.




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dismissed.

I.     BACKGROUND

       The allegations of the complaint, which are accepted as true

and viewed in the light most favorable to Winans for purposes of

the present motion, show the following:

       FCSI operates a debt collection business with its principal

place of business located in Mississippi.               (Doc. 1 ¶ 12; Doc. 10

¶    12.)    Dan   Franklin   is   the   president,     sole   officer    (chief

executive officer), shareholder, and director of FCSI.                   (Doc. 1

¶ 17; Doc. 10 ¶ 17.)           FCSI holds a license to operate as a

collection agency in North Carolina and conducts debt collection

activities within the state.        (See Doc. 1 ¶¶ 15, 28; Doc. 10 ¶¶ 15,

28.)

       At some point during 2015, Winans became unable to pay his

cell phone bill from AT&T.         (Doc. 1 ¶ 25.)        Winans used his cell

phone exclusively for personal, family, and/or household purposes.

(Id. ¶ 26.)        His AT&T account became past due in the amount of

$289.58.     (Id. ¶ 27.)   Sometime in early 2016, AT&T placed Winans’s

account with FCSI for collection.            (Id. ¶ 28.)

       On May 18, 2016, Winans received a debt collection letter

from Defendants (the “first letter”).             (Id. ¶ 29; Doc. 2.)        The

letter lists the name of the sender as “The Collection Firm of

Franklin      Collection    Service,     Inc.”    and    includes   a     unique

identification number referred to as a “FCSI case #.”                    (Doc. 1

                                         2



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¶¶ 30-31; Doc. 2 at 2.)        The second full paragraph of the letter

states, “IF YOU ARE NOT PAYING THIS ACCOUNT IN FULL, CONTACT YOUR

ATTORNEY REGARDING OUR POTENTIAL REMEDIES, AND YOUR DEFENSES, OR

CALL [FCSI’s phone number].”       (Doc. 1 ¶ 32.)

     On   July   21,   2016,   Winans    received   another   letter     from

Defendants (the “second letter”).          (Id. ¶ 38; Doc. 2-1.)          The

second letter, printed in red, similarly lists the name of the

sender as “The Collection Firm of Franklin Collection Service,

Inc.” and refers to an “FCSI case number.”           (Doc. 1 ¶ 39.)       The

body of the letter states in relevant part:

     WE HAVE MADE SEVERAL ATTEMPTS FOR YOU TO RESOLVE THIS
     LETTER VOLUNTARILY, YET IT GOES UNSATISFIED AS OF THE
     DATE ON THIS NOTICE. WE SELDOM RESORT TO LITIGATION IF
     THE ACCOUNT IS RESOLVED IN A TIMELY MANNER.    AT THIS
     TIME, THERE HAS BEEN NO CIVIL ACTION FILED OR JUDGMENT
     OBTAINED.

(Id. ¶ 40.)      To the right of the main paragraph, there are two

checkboxes labeled, “Employment Verified” and “Assets Located.”

(Id. ¶ 41.)   Neither checkbox is checked.      (Id.)    At the bottom of

the collection letter it states, “TO BE SURE OF PROPER CREDIT AND

TO STOP FURTHER PROCEDURES, RETURN THIS NOTICE WITH PAYMENT IN

FULL TO FRANKLIN COLLECTION SERVICE, INC.”          (Id. ¶ 42.)

     Based on these two letters, Winans filed suit against FCSI

and Franklin, alleging (1) the first letter violated several

provisions of the NCCAA and NCDCA; and (2) the second letter

violated several provisions of the FDCPA as well as the NCCAA and


                                     3



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NCDCA.      (Doc. 1.)       Defendants filed an answer and now move for

judgment on the pleadings.           (Doc. 10; Doc. 13.)

II.    ANALYSIS

       A.     Standard of Review

       “A   Rule    12(c)   motion   tests     only   the    sufficiency   of    the

complaint and does not resolve the merits of the plaintiff’s claims

or any disputes of fact.”            Massey v. Ojaniit, 759 F.3d 343, 353

(4th Cir. 2014) (quoting Drager v. PLIVA USA, Inc., 741 F.3d 470,

474 (4th Cir. 2014)).              The court “accept[s] all well-pleaded

allegations of [the] complaint as true and draw[s] all reasonable

factual inferences in [the plaintiff’s] favor.”                     Id. (citation

omitted). 2        In   applying   those   standards,       “the   complaint    will

survive only if it ‘states a plausible claim for relief.’”                       Id.

(quoting Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009)).

       Section 1692e of the FDCPA prohibits debt collectors from

making “false, deceptive, or misleading” statements in connection

with     their     debt   collection    activities     and     outlines    sixteen

illustrative examples of prohibited conduct.                  15 U.S.C. § 1692e;

Russell v. Absolute Collection Servs., Inc., 763 F.3d 385, 394

(4th Cir. 2014); see also 15 U.S.C. § 1692a (defining terms).

“Whether a communication is false, misleading, or deceptive in



2 Winans has attached copies of the two debt collection letters to his
complaint (Docs. 2, 2-1), which the court may consider for purposes of
this motion.   Fed. R. Civ. P. 10(c); Sec'y of State for Defence v.
Trimble Navig. Ltd., 484 F.3d 700, 705 (4th Cir. 2007).

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violation of § 1692e is determined from the vantage of the ‘least

sophisticated        consumer.’”     Russell,    763    F.3d   at   394    (quoting

United States v. Nat'l Fin. Servs., Inc., 98 F.3d 131, 136 (4th

Cir.     1996)).       “The    least-sophisticated-consumer         test     is   an

objective standard that evaluates § 1692e claims based upon how

the least sophisticated consumer would interpret the allegedly

offensive language.”          Id. at 394–95.     “Given the objective nature

of this inquiry, a district court's application of the least

sophisticated consumer test ordinarily presents a question of law

. . . .”      Ramsay v. Sawyer Prop. Mgmt. of Maryland LLC, 593 F.

App'x 204, 208 (4th Cir. 2014); Russell, 763 F.3d at 395 (“Although

we   have    never    directly     addressed    whether    application      of    the

objective least-sophisticated-consumer test to the language of a

dunning letter is a question of law, we have assumed that to be

the case.”).       “While protecting naive consumers, the standard also

prevents liability for bizarre or idiosyncratic interpretations of

collection notices by preserving a quotient of reasonableness and

presuming a basic level of understanding and willingness to read

with care.”        Nat'l Fin. Servs., Inc., 98 F.3d at 136.

       North Carolina has enacted two separate statutes regulating

debt     collection     practices.       The    NCCAA     regulates   collection

agencies and prohibits deceptive representations or threatening or

coercive conduct regarding the collection of a debt.                      N.C. Gen.

Stat. §§ 58-70-95, 58-70-110; see also id. §§ 58-70-15, 58-70-

                                         5



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90(1) (defining “collection agency”).         The NCDCA also prohibits

all other persons who collect consumer debts from engaging in

similar activities.     N.C. Gen. Stat. §§ 75-51, 75-54; see also id.

§ 75-50(3) (defining “debt collector”).       The statutes each provide

illustrative examples of prohibited conduct.             N.C. Gen. Stat.

§§ 58-70-95, 58-70-110, 75-51, 75-54.

     Here, Defendants do not dispute that FCSI’s debt collection

activities fall within the scope of the FDCPA and NCCAA, (see Doc.

10 ¶¶ 13-14), but they contend that Winans fails to allege that

the debt collection letters give rise to a plausible claim under

either the state or federal statutes.              Defendants do dispute

whether Franklin may be held liable individually.         They argue that

Franklin cannot be held liable for any alleged FDCPA or NCCAA

violations because Winans failed to allege sufficient facts to

either pierce the corporate veil or suggest that Franklin was

personally involved in the debt collection process.              (Doc. 14 at

14-15.)    Further, while Defendants claim that Franklin does not

qualify as a “collection agency” as defined in N.C. Gen. Stat.

§§ 58-70-15, 58-70-90(1), they have not addressed whether he could

be liable as a “debt collector” under N.C. Gen. Stat. § 75-50(3),

as Winans also alleges.       (See Doc. 1 ¶¶ 21, 79, 87.)          The court

can assume without deciding that Franklin may be held liable for

FCSI’s    debt   collection   activities   under   the   FDCPA    and   state



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analogues because, for the reasons that follow, Winans’s claims

fail.

         Before turning to Winans’s claims, it must be noted that the

court’s analysis is confounded by Winans’s citation generally to

various statutes relating to his potential claims under both

federal and state law in his complaint (id. ¶¶ 64-69, 73-79, 83-

87) without specifying which provision or provisions he relies on

within the context of his individual allegations (id. ¶¶ 70, 80,

88).          In his brief on the instant motion, Winans offers no

additional indication of which individual provision(s) he relies

on to support any particular claim, apart from referencing 15

U.S.C. § 1692e(5).        (See Doc. 17 at 6.)       He also offers little

case law.        It is the job of counsel, not the court, to identify

these things.

         With this understanding, the court turns to each of the

complaint’s principal allegations with respect to each of the debt

collection letters.

         B.     First Letter

         Winans alleges that Defendants violated several provisions of

the NCCAA and NCDCA by sending the first letter.             (Doc. 1 ¶¶ 83-

88.) 3    First, he alleges that the letter falsely represents that



3While Winans cites to several requirements set forth in the NCDPA (Doc.
1 ¶ 87), he references only the NCCAA in his specific allegations (id.
¶ 88).   Nevertheless, the court will address each of the principal
allegations in the complaint under both statutes.

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FCSI was a law firm.        Winans relies on the fact that the letter

refers to “The Collection Firm of Franklin Service, Inc.,” and

includes FCSI’s “case” number, claiming that these references

“reinforce[d] the impression that FCSI is a law firm treating

Plaintiff’s AT&T account as a legal case.”                   (Id. ¶¶ 30-31, 35).

Winans appears to allege that this activity violates the NCCAA and

NCDCA by “[f]alsely representing the status or true nature of the

services rendered by the collection agency [or debt collector].”

N.C. Gen. Stat. §§ 58-70-110(7), 75-54(7).

     These    alleged     representations        do    not    give   rise    to    an

actionable claim under the NCCAA or NCDCA.                   The use of the word

“firm” is by no means exclusive to the legal profession, and the

term “collection firm” is merely a descriptive reference to FCSI’s

business.    Apart from the reference to a “collection firm,” the

letter    makes    no   other   reference   to    a    firm    and   specifically

identifies FCSI as a corporation and a “debt collector.”                    (Doc. 2

at 2.)    In addition, each reference to a case number is preceded

by a reference to “FCSI,” which removes the possible inference

that the “case number” originated from a court of law.                (Id.)       When

interpreting substantively identical language in debt collection

letters    under    the   FDCPA,   at   least    two    district     courts   have

specifically rejected claims that such references impermissibly

imply that FCSI is a law firm or otherwise are false or misleading.

Brunett v. Franklin Collection Serv. Inc., No. 18-CV-163-JPS, 2018

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WL 2170334, at *5 (E.D. Wis. May 10, 2018) (finding that the use

of identical language did not give rise to a violation of 15 U.S.C.

§ 1692e(3) by falsely representing that FCSI was a law firm);

Bradley v. Franklin Collection Serv., Inc., No. 5:10–cv–01537–AKK,

2013 WL 1346714, at *13 (N.D. Ala. Mar. 28, 2013) (same), aff’d in

part and rev’d on other grounds, 739 F.3d 606 (8th Cir. 2014).

      Winans further alleges that the language within the second

full paragraph in the first letter violated applicable state law

by threatening that FCSI would file a lawsuit against the consumer

when neither FCSI nor AT&T intended to do so.            (Doc. 1 ¶¶ 32-34,

88.); see N.C. Gen. Stat.      §§ 58-70-95(7), 58-70-110(4), 75-51(7),

75-54(4).     The second paragraph states in relevant part, “IF YOU

ARE   NOT   PAYING   THIS   ACCOUNT   IN   FULL,    CONTACT   YOUR   ATTORNEY

REGARDING OUR POTENTIAL REMEDIES, AND YOUR DEFENSES, OR CALL

[FCSI’s phone number].”       (Doc. 1 ¶ 32.)       Winans appears to allege

that this language violates the NCCAA and NCDCA by “[t]hreatening

to take any action not in fact taken in the usual course of

business, unless it can be shown that such threatened action was

actually intended to be taken in the particular case in which the

threat was made,” N.C. Gen. Stat. §§ 58-70-95(7), 75-51(7), and

falsely representing the status of any legal proceeding or the

creditor’s rights or intentions, id. §§ 58-70-110(4), 75-54(4).

      When interpreting substantively similar language under the

FDCPA, five district courts have held that it did not impermissibly

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threaten litigation.      Brunett v. Franklin Collection Serv. Inc.,

No. 18-CV-163-JPS, 2018 WL 2170334, at *3-4 (E.D. Wis. May 10,

2018); Hanford v. Franklin Collection Serv., Inc., No. 4:17-CV-

2005-SNLJ, 2018 WL 2129612, at *4 (E.D. Mo. May 9, 2018); Rivera

v.   Franklin   Collection   Servs.,      Inc.,    No.   CV   17-631,   2017   WL

3075085, at *3 (E.D. Pa. July 19, 2017); Covington v. Franklin

Collection Servs., Inc., No. 16-2262-JWL, 2016 WL 4159731, at *3

(D. Kan. Aug. 5, 2016); Clark v. Franklin Collection Serv., Inc.,

No. 14-CV-8067, 2015 WL 3486767, at *3 (D.N.J. June 2, 2015).

Instead, these courts found that “[t]he letter merely provided the

plaintiff with his options without coercing or misleading the least

sophisticated debtor into thinking that he was required to either

pay or suffer dire consequences.”         Rivera, 2017 WL 3075085, at *3;

see Brunett, 2018 WL 2170334, at *3-4.            The court agrees with this

line of cases. 4   Nothing in the cited language of the first letter

would suggest to the least sophisticated consumer that FCSI was

impermissibly threatening litigation.

      For these reasons, the court finds that Winans has failed to

state a claim under either the NCCAA or NCDCA arising from the


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  Winans’s complaint also alleges that the first letter violates the
NCCAA and NCDPA by “[f]alsely stating that FSCI [sic] sometimes files
civil lawsuits against consumers.”       (Doc. 1 ¶ 88.)      Apart from
instructing the consumer to “contact your attorney regarding our
potential remedies,” the letter contains no other reference to civil
litigation, much less FCSI’s propensity to file civil lawsuits. Winans
offers no argument to support this allegation, nor can the court discern
how this letter would give rise to such a representation.


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alleged misrepresentations and language within the first letter.

      C.    Second Letter

      With regard to the second letter, Winans alleges several

violations of the FDCPA, NCDCA, and NCCAA.                  He claims that the

second letter (1) falsely represents that FCSI was a law firm; (2)

impermissibly threatens to take legal action against the recipient

when neither FCSI nor AT&T intended to do so; (3) impermissibly

threatens to garnish wages and/or seize assets belonging to the

consumer;    and    (4)   improperly     threatens     to    contact    Winans’s

employer regarding his debt.        (Doc. 1 ¶¶ 70, 80.) 5         Each of these

alleged violations will be addressed in turn.

            1.     False Representation that FCSI is a Law Firm

      Relying on FCSI’s use of the term “collection firm” and

reference to “case” number, Winans again alleges that the second

letter falsely represents that FCSI was a law firm in violation of

both the FDCPA and state law.           (Doc. 1 ¶¶ 70, 80); see 15 U.S.C.

§ 1692e(3); N.C. Gen. Stat. §§ 58-70-110(7), 75-54(7).                      Section

1693e(3) prohibits a debt collector from making “[t]he false

representation or implication that any individual is an attorney

or   that   any    communication   is    from   an   attorney.”        15    U.S.C.


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  Winans also alleges that the second letter falsely claims that FCSI
“sometimes files lawsuits against consumers,” relying on the fact that
FCSI is not a law firm. (Doc. 1 ¶ 48.) This language is not present
in the letter, which rather states “WE SELDOM RESORT TO LITIGATION IF
THE ACCOUNT IS RESOLVED IN A TIMELY MANNER.” (Doc. 2-1 at 2.) As with
the first letter, Winans offers no argument or case law in his response
to support this allegation, and the court can discern none.

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§ 1693e(3).     Apart from the reference that “WE SELDOM RESORT TO

LITIGATION,” the letter otherwise contains no other reference that

would arguably suggest that either FCSI is a law firm or the

communication is from an attorney.             (Doc. 2-1 at 2.)         For reasons

similar to those previously discussed regarding the first letter,

the court finds that Winans has failed to state a claim under

either    federal      or    state     law    with    regard     to    any   alleged

misrepresentation on these grounds.              See Brunett, 2018 WL 2170334,

at *5; Bradley, 2013 WL 1346714, at *13.

           2.     Threat of Litigation

     Winans alleges that the second letter violated portions of

the FDCPA and NCDCA by threatening to take legal action against

him and other putative class members when neither FCSI nor AT&T

intended to do so.           (Doc. 1 ¶¶ 70, 80).           Winans claims that the

least sophisticated consumer would interpret the letter to imply

that failure to pay the total due would result in FCSI engaging in

further “procedures” to collect the debt, which Winans says is

code for legal action.               In particular, Winans relies on the

following language:

     WE HAVE MADE SEVERAL ATTEMPTS FOR YOU TO RESOLVE THIS
     MATTER VOLUNTARILY, YET IT GOES UNSATISFIED AS OF THE
     DATE ON THIS NOTICE. WE SELDOM RESORT TO LITIGATION IF
     THE ACCOUNT IS RESOLVED IN A TIMELY MANNER.    AT THIS
     TIME, THERE HAS BEEN NO CIVIL ACTION FILED OR JUDGMENT
     OBTAINED. [. . .]

     TO   BE    SURE    OF    PROPER    CREDIT       AND   TO   STOP   FURTHER


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       PROCEDURES, RETURN THIS NOTICE WITH PAYMENT IN FULL TO
       FRANKLIN COLLECTION SERVICE, INC.

(Doc. 2-1 at 2; Doc. 1 ¶ 40.)           Winans claims that the least

sophisticated consumer would interpret the letter to imply that

“FCSI sues consumers who do not timely pay, that the recipient has

not timely paid, and that, therefore, the recipient will face the

‘further procedure’ of a lawsuit if he does not pay immediately.”

(Doc. 1 ¶ 49.)    Winans appears to allege that FCSI’s text violates

15 U.S.C. § 1692e(5) and (10) and N.C. Gen. Stat. §§ 58-70-95(7),

58-70-110(4), 75-51(7), 75-54(4).         Defendants argue that this

language   does   not   suggest   an   imminent   or   actual   threat   of

litigation so as to give rise to a violation of the FDCPA.          (Doc.

14 at 10-11.)     Under the same rationale, Defendants contend that

the letter does not violate the NCDCA.       (Id. at 11.)

       Debt collection letters will not violate § 1692e(5) unless

the least sophisticated consumer “would reasonably believe that

the notices threaten legal action.”      Nat'l Fin. Servs., 98 F.3d at

135.    “For a collection letter to threaten legal action under

§ 1692e(5), it must communicate that a lawsuit is not merely a

possibility, but that a decision to pursue legal action is either

imminent or has already been made.”        Jenkins v. Union Corp., 999

F. Supp. 1120, 1136 (N.D. Ill. 1998); Bentley v. Great Lakes

Collection Bureau, 6 F.3d 60, 62 (2d Cir. 1993) (noting the

threatened legal action must be “authorized, likely and imminent”


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to give rise to a violation of § 1692e(5)).                      “Even indirect or

oblique threats give rise to liability, provided they indicate

that   ‘legal    action      is   underway      or   contemplated      in    the   near

future.’”       Combs v. Direct Mktg. Credit Servs., Inc., 1998 WL

911691, at *2 (7th Cir. 1998) (quoting Jenkins, 999 F. Supp. at

1136).   While the “standard is lower than simply examining whether

particular language would deceive or mislead a reasonable debtor,”

“[e]ven the ‘least sophisticated consumer’ can be presumed . . .

to read a collection notice with some care.”                     Powell v. Comput.

Credit, Inc., 975 F. Supp. 1034, 1039 (S.D. Ohio Jul. 24, 1997)

(citations omitted).

       Here,    the    second     letter,       while    referencing    litigation,

contains no explicit statement that legal action is underway,

either now or in the future.          It clearly states that there is “NO

CIVIL ACTION FILED OR JUDGMENT OBTAINED” against the recipient,

and it offers no indication of when any legal action or further

“procedures” would be taken.               Cf. Pipiles v. Credit Bureau of

Lockport,      Inc.,   886    F.2d   22,    25–26       (2d   Cir.   1989)   (finding

violation of § 1692e(5) where letter indicated that debt “Has

Already Been Referred for Collection Action” and “We Will At Any

Time After 48 Hours Take Action As Necessary And Appropriate To

Secure Payment In Full”).

       The question is whether the inclusion of the phrasing, “WE

SELDOM RESORT TO LITIGATION IF THE ACCOUNT IS RESOLVED IN A TIMELY

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MANNER,” when coupled with the other representations of “FURTHER

PROCEDURES” as well as the admonition in the first letter to

“CONTACT YOUR ATTORNEY,” suggests the negative pregnant — that

FCSI will likely resort to litigation if the account is not

resolved timely.       Larsen v. JBC Legal Group, P.C., 533 F. Supp. 2d

290, at 302 (E.D.N.Y. 2008) (“To determine whether a communication

from a debt collector constitutes a threat, the reviewing court

should look to the language used as a whole.” (citations omitted)).

As the Fourth Circuit has noted in the context of § 1692g, “[t]here

are numerous and ingenious ways of circumventing [the law] under

a cover of technical compliance.”             Nat'l Fin. Servs., 98 F.3d at

138 (alterations in original) (quoting Miller v. Payco-General Am.

Credits, Inc., 943 F.2d 482, 485 (4th Cir. 1991)).                Therefore, the

court must carefully assess whether a communication nevertheless

has    the    effect   of   undermining      the    protections    of   the   debt

collection laws.       On the other hand, courts must be mindful that

debtors who are already overdue on payment cannot be expected to

readily respond to mere invitations to pay, and thus legitimate

forms of persistence may be allowed.               Madonna v. Acad. Collection

Serv., No. 95-CV-00875, 1997 WL 530101, at *8 (D. Conn. Aug. 12,

1997) (Cabranes, J., sitting by designation) (noting that “[i]t

would    be   counterproductive    to     penalize     a   debt   collector   for

suggesting that steps which legally could be taken might in fact

be taken” (quoting Sluys v. Hand, 831 F. Supp. 321, 326 (S.D.N.Y.

                                        15



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Sept. 13, 1993))).

       While a closer question, the court concludes that even the

least sophisticated consumer should not reasonably conclude that

FCSI’s letters impermissibly threaten litigation.

       “Seldom” means “on few occasions, in few cases or instances,

not    often;     rarely,   infrequently.”         Oxford    English    Dictionary

Online, http://www.oed.com/view/Entry/175021?redirectedFrom=seld

om.    The letter’s admonition that litigation is “seldom resort[ed]

to . . . if the account is resolved in a timely manner” (Doc. 2-1

at    2)   certainly   suggests     that   litigation       remains    at   least   a

possibility.       But, as to the imminence of legal action, the letter

does not imply any more than that.                 The letter only expressly

states that if the account is not satisfied “voluntarily” and

“timely,” “further procedures” are likely to occur. (Id.)

       Although Winans does not argue it, the court notes that the

antonyms     of    “seldom”    include        “often,”   Webster’s      Third   New

International Dictionary 2058 (1986), as well as “frequently” and

“usually,”      Roget’s     21st   Century Thesaurus        in   Dictionary     Form

743 (3d ed. 2005).          However, it does not reasonably follow from

the language of the second letter that if the debt is not resolved

timely, litigation is likely.            See Avila v. Riexinger & Assocs.,

LLC, 644 F. App'x 19, 22 (2d Cir. 2016) (holding that letter did

not violate § 1962e(5) where letter indicated that “the debt

collector ‘may consider additional remedies’ and that the accounts

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were placed with an attorney for ‘such action as necessary’”

(emphasis in original)); Madonna, 1997 WL 530101, at *6–9 (finding

that statement, “[f]ailure to comply may result in our informing

our client that you have refused to cooperate, they may pursue

legal action,” did not constitute an impermissible threat to pursue

legal action); Knowles v. Credit Bureau of Rochester, Div. of

Rochester   Credit   Ctr.,   No.   91-CV-14S,   1992   WL   131107,   at   *1

(W.D.N.Y. May 28, 1992) (finding that statement, “FAILURE TO PAY

WILL LEAVE OUR CLIENT NO CHOICE BUT TO CONSIDER LEGAL ACTION,”

threatened “no action whatsoever”); Riveria v. MAB Collections,

682 F. Supp. 174, 178–79 (W.D.N.Y. 1988) (finding that language,

“YOU LEAVE US NO CHOICE BUT TO ADVISE YOUR CREDITOR THAT YOU HAVE

IGNORED OUR EFFORTS, AND THAT LEGAL ACTION MAY BE NECESSARY IN

ORDER TO COLLECT THIS BIL [sic],” did not constitute an improper

threat of litigation).

     The letters in this case can be distinguished from those that

implied either that litigation was inevitable or that the debt

collector would pursue all legal remedies.       Cf. Huling v. Franklin

Collection Service, Inc., No. 1:16CV-0370-CC-JSA, 2016 WL 4803196

(N.D. Ga.   Sept. 13, 2016) (denying motion to dismiss and finding

fact issue existed as to intent to seek legal action where FCSI

letter contained similar language to the first letter but included

additional statement that debt “WILL BE PURSUED TO A CONCLUSION!”);

Larsen, 533 F. Supp. 2d at 302 (finding that statement, “WARNING:

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You may be sued 30 days after the date of this notice if you do

not    make    payment,”     signed        by    an   attorney,     constituted   an

impermissible threat of litigation); Bentley, 6 F.3d at 62-63

(holding that statement, “THEY HAVE INSTRUCTED US TO PROCEED WITH

WHATEVER LEGAL MEANS IS NECESSARY TO ENFORCE COLLECTION,” would

reasonably     be     interpreted     by    least     sophisticated    consumer   as

threat of imminent litigation); Nat'l Fin. Servs., 98 F.3d at 136

(finding      impermissible     threats          where    letters   from   attorney

contained phrases such as, “only your immediate payment will stop

further legal action,” “I have filed suits [in similar cases],” “I

will consider the use of legal remedies,” and “instructions have

been given to take any action, that is legal, to enforce payment”).

       In assessing whether communications threaten legal action,

“the fact that an attorney — as opposed to a debt collection

service —      sent    the   letter    ‘may      create    a   sliding-scale   which

increases the sensitivity of the debtor to language in the letter

threatening litigation.’”           Baptist v. Glob. Holding and Inv. Co.,

L.L.C., 2007 WL 1989450, at *4 (E.D.N.Y. Jul. 9, 2007) (collecting

cases).     This is because, as the Fourth Circuit has observed, “to

most consumers, the relevant distinction between a collection

agency and an attorney is the ability to sue.”                  Nat’l Fin. Servs.,

Inc., 98 F.3d at 136.            In a close case, this factor can be

determinative.        See Jenkins, 999 F. Supp. at 1137 (noting that “in

cases where the likelihood of legal action is not clear from the

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language, the letter's source can be determinative, especially if

it   purports    to   be    from   an    attorney,”       which    “signals        to   the

unsophisticated consumer that legal action is at hand” (collecting

cases)); Canlas v. Eskanos & Adler, P.C., No. C 05-00375 JF, 2005

WL 1630014, at *3 (N.D. Cal. Jul. 6, 2005) (finding that “the

threat is implied by the combination of vague language regarding

‘further action’ and the identity of the sender” as an attorney

(emphasis in original)).           Here, neither letter purports to be from

an attorney.      This factor therefore weighs against any threat of

imminent legal action.

      For these reasons, the court finds that, taken as a whole,

the language of the two dunning letters does not impermissibly

threaten     litigation      under      §      1692e(5).         Having      made       this

determination,        the    court      need      not    address    whether         Winans

adequately      alleged     that   FCSI     did    not    intend   to     bring      suit.

Jenkins, 999 F. Supp. at 1138.

      Finally,    §    1692e(10)     prohibits          “[t]he   use    of   any     false

representation or deceptive means to collect or attempt to collect

any debt or to obtain information concerning a consumer.”                                15

U.S.C. § 1692e(10).         A debt collection letter violates § 1692e(10)

where it falsely represents “that unpaid debts would be referred

to an attorney for immediate legal action.”                      Nat'l Fin. Servs.,

Inc., 98 F.3d at 138; Combs, 1998 WL 911691, at *2.                     For the above

reasons, the court finds that the second letter does not contain

                                            19



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any false threat of “immediate legal action” that would give rise

to a violation of § 1692e(10).               Nat'l Fin. Servs., Inc., 98 F.3d

at   138   (4th   Cir.     1996);    see     Combs,    1998   WL    911691,    at   *2

(unpublished)      (applying        unsophisticated        debtor    standard       and

holding that debt collection letter did not violate § 1692e(10)

where notice warned consumer “[t]his is your opportunity to resolve

this matter amicably,” and “[w]e advise you to consult with your

attorney regarding your liability” (alterations in original)); cf.

Nat'l   Fin.     Servs.,    Inc.,    98    F.3d   at     136–38    (applying    least

sophisticated consumer standard and holding that debt collection

letter violated § 1692e(10) where notice stated “[y]our account

will be transferred to an attorney if it is unpaid after the

deadline date” and advised consumer to “remember your attorney

will want to be paid,” id. at 136).

      For these same reasons, the court finds that Winans fails to

state a plausible claim under either the NCCAA or the NCDCA with

regard to any alleged threat of litigation.                   See N.C. Gen. Stat.

§§ 58-70-95(7), 58-70-110(4), 75-51(7), 75-54(4).

            3.     Threat of Wage Garnishment and Asset Forfeiture

      Winans      alleges    that      the      second     letter     impermissibly

threatened “imminent asset seizure,” claiming that use of the term

“further    procedures”      when     coupled     with     the     unchecked    boxes

entitled “Employment Verified” and “Assets Located” constituted an

impermissible threat of wage garnishment as well as attachment of

                                           20



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the recipient’s assets.          (Doc. 1 ¶¶ 50, 54.)          Winans appears to

allege that these representations violate 15 U.S.C. §§ 1692e(4),

(5) & (10), 1692f(6), and N.C. Gen. Stat. §§ 58-70-95(6), (7),

& (8), 58-70-110(4), 75-51(6), (7), & (8), 75-54(4).                   Defendants

argue that this “bizarre or idiosyncratic” interpretation amounts

to “a quantum and far-fetched leap even for the sophisticated

consumer.”      (Doc. 14 at 12 (first quotation quoting Nat'l Fin.

Servs., Inc., 98 F.3d at 136).)

     In addition to prohibiting any threat of conduct otherwise

prohibited by law or the use of false representations or deceptive

means,   15    U.S.C.    §§   1692e(5),     (10),   section    1692e    expressly

prohibits a debt collector from making “[t]he representation or

implication that nonpayment of any debt will result in . . . the

seizure, garnishment, attachment, or sale of any property or wages

of any person unless such action is lawful and the debt collector

or creditor intends to take such action.”            Id. § 1692e(4).      Section

1692f(6)      also   prohibits   a   debt    collector   from     “[t]aking   or

threatening to take any nonjudicial action” to dispossess or

disable property where the collector lacks either a right to

repossess such property or a present intent to take possession of

the property.        Id. § 1692f(6).

     Here, the second letter does not contain any language to

suggest any impermissible threat of “imminent asset seizure,” as

Winans alleges.         The letter does not contain any reference to

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property,      attachment,     seizure,        garnishment,       paychecks,       bank

accounts, or the participation of law enforcement.                     (Doc. 2-1 at

2.)    Apart from a vague reference to “further procedures” being

taken, the letter contains no suggestion that FCSI will conduct an

immediate investigation into the consumer’s employment status or

assets.     While it might be a different case if the boxes entitled

“Employment Verified” and “Assets Located” were checked, here they

only inform the recipient that his employment status and available

assets have not been, and may never be, verified.                     Cf. Swanson v.

S. Oregon Credit Serv., Inc., 869 F.2d 1222, 1226–28 (9th Cir.

1988) (holding that letter threatening that “within 48 hours a

complete investigation will begin concerning your employment and

assets” gave rise to a violation of the FDCPA under the least

sophisticated debtor standard).               Applying the least sophisticated

consumer standard, the court does not find that these references

impermissibly threatened wage garnishment or attachment so as to

give rise to a violation of the FDCPA.

       Under   North      Carolina    law,     collection       agencies     and   debt

collectors     are   similarly       prohibited       from   “[r]epresenting       that

nonpayment     of    an    alleged     debt     may    result    in    the   seizure,

garnishment, attachment, or sale of any property or wages unless

such action is in fact contemplated by the debt collector and

permitted by law.”         N.C. Gen. Stat. §§ 58-70-95(6), 75-51(6).                In

addition,      a    collection       agency     or    debt    collector      may    not

                                         22



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“[t]hreaten[] to take any action not permitted by law,” id. §§ 58-

70-95(8), 75-51(8) or otherwise “[t]hreaten[] to take any action

not in fact taken in the usual course of business, unless it can

be shown that such threatened action was actually intended to be

taken in the particular case in which the threat was made,”                        id.

§§ 58-70-95(7), 75-51(7).        For the reasons discussed above, the

court finds that the language within the second letter does not

give rise to a violation of the NCCAA or NCDCA.

            4.    Threat of Third-Party Contact with Employer

     Winans      also   claims    that    the        unchecked       box     entitled

“Employment      Verified”    implies     that       FCSI    will     contact     the

recipient’s employer regarding the debt, an action it was not

legally   permitted     to   take.      (Doc.    1    ¶     52);    see    15   U.S.C.

§ 1692c(b); N.C. Gen. Stat. §§ 58-70-105(1), 75-53(1).                     He appears

to allege that this representation gives rise to a violation of 15

U.S.C. § 1692e(5) and N.C. Gen. Stat. §§ 58-70-95(8), 58-70-110(4),

75-51(8),   75-54(4).        Defendants    contend        that     debt    collectors

routinely verify consumers’ employment by directly asking the

consumer and that the presence of this unchecked box does not

amount to an impermissible threat of illegal action.                      (Doc. 14 at

12-13.)   No party cites any relevant case law on this issue.

     The FDCPA prohibits debt collectors from communicating with

third parties regarding a consumer’s debt.                15 U.S.C. § 1692c(b);

see also id. § 1692a(2) (defining “communication”).                  However, debt

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collectors may communicate with third parties for the sole purpose

of obtaining “location information,” provided that the collector

does not convey or otherwise imply the existence of the consumer’s

debt. Id. § 1692c(b); see id. § 1692b (outlining proper procedures

for obtaining such information); Brown v. Van Ru Credit Corp., 804

F.3d   740,     745    (6th    Cir.     2015)       (discussing     the    safe    harbor

provisions       of    §      1692b     and        competing     interpretations       of

“communication”        in   this      context).        “Location     information”       is

defined as “a consumer’s place of abode and his telephone number

at such place, or his place of employment.” 15 U.S.C. § 1692a(7).

Under North Carolina law, collection agencies and debt collectors

are similarly prohibited from making unauthorized communications

“with any person other than the debtor or his attorney, except

. . . . [f]or the sole purpose of locating the debtor, if no

indication of indebtedness is made.”                    N.C. Gen. Stat. §§ 58-70-

105(1), 75-53(1); see also id. § 75-50(4) (defining “location

information”).

       Here,    the    unchecked       box     entitled        “Employment      Verified”

suggests    that      the   consumer’s        employment       status     has   not   been

verified.      The letter refers to “employment,” and not “employer.”

Moreover, it is permissible to verify employment with the debtor

himself.       The letter does not therefore imply that contact with

the employer about the debt was made or is contemplated.                               In

contrast to other cases where courts have found that references to

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a debtor’s employment gave rise to a violation of the FDCPA, the

letter does not contain any reference to Winans’s employer or

contain   language   that   would    otherwise   suggest   an   immediate

investigation into his employment status would take place.               Cf.

Shand-Pistilli v. Prof'l Account Servs., Inc., No. 10-CV-1808,

2010 WL 2978029, at *3–4 (E.D. Pa. July 26, 2010) (holding that

plaintiff stated a claim under § 1692c(b) where debt collector

sent her a letter indicating it had “contacted her employer and

verified her employment status”); Swanson, 869 F.2d at 1226–28

(holding that letter threatening that “within 48 hours a complete

investigation will begin concerning your employment and assets,”

id. at 1226, gave rise to a violation of § 1692e(5) under the least

sophisticated   debtor   standard,    where   “[t]he   phrase   ‘complete

investigation’ connote[d] something more than simply obtaining

permissible location information,” id. at 1228); Sherman v. Fin.

Credit, LLC., No. 03 C 00023, 2003 WL 1732601 (N.D. Ill. Apr. 1,

2003) (holding, under pre-Iqbal pleading standard, that dunning

letter indicating that debtor was “gainfully employed at BAHAMA

BREEZE,” id. at *1, her current employer, stated a claim for a

violation of FDCPA, but noting that this interpretation was “a

stretch even under the most expansive interpretation of the general

provisions of § 1692e,” id. at *2); Raimondi v. McAllister &

Assocs., Inc., 50 F. Supp. 2d 825, 827 (N.D. Ill. June 15, 1999)

(granting summary judgment in favor of plaintiff for alleged

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violations of § 1692e(5) and (10), where letter indicated that “a

professional collector will investigate your financial situations

through   . . .   employers”).    Applying   the   least   sophisticated

consumer standard, the court does not find that these references

threatened impermissible third party contact with an employer so

as to give rise to a violation of the FDCPA.       See Herbert v. Wexler

& Wexler, No. 95 C 1452, 1995 WL 535107, at *1 (N.D. Ill. Sept. 5,

1995) (applying unsophisticated consumer standard and finding that

debt collection letter did not violate § 1692e(5) where notice

stated “[w]e have advised our client of the fact that you are

employed and the location of your employment; we have further

advised them that you have the ability to pay this debt but refuse

to do so” (alteration in original)).

     With regard to Winans’s alleged violations of the NCCAA and

NCDCA, the court finds this analysis persuasive and concludes that

he has failed to state a claim under either statute for any alleged

threat of unauthorized third-party contact.         See N.C. Gen. Stat.

§§ 58-70-95(8), 58-70-110(4), 75-51(8), 75-54(4).

III. CONCLUSION

     For the reasons stated, the court finds that Winans fails to

state a claim for relief under the FDCPA or applicable state law

and the Defendants are entitled to judgment as a matter of law.

     IT IS THEREFORE ORDERED that the Defendants’ motion for

judgment on the pleadings (Doc. 13) is GRANTED, and Winans’s

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complaint (Doc. 1) is DISMISSED WITH PREJUDICE.           A judgment in

accordance with this Order will be issued contemporaneously.



                                           /s/   Thomas D. Schroeder
                                        United States District Judge

August 16, 2018




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